                   IN THE SUPREME COURT OF PENNSYLVANIA
                              EASTERN DISTRICT


PATRICK J. MACPHERSON, EXECUTOR : No. 700 EAL 2015
OF THE ESTATE OF RICHARD          :
MACPHERSON, DECEASED,             : Petition for Allowance of Appeal from
                                  : the Order of the Superior Court
                Petitioner        :
                                  :
                                  :
           v.                     :
                                  :
                                  :
THE MAGEE MEMORIAL HOSPITAL       :
FOR CONVALESCENCE D/B/A MAGEE     :
REHABILITATION HOSPITAL,          :
JEFFERSON HEALTH SYSTEM, INC.,    :
TJUH SYSTEM, MANOR CARE OF        :
YEADON PA, LLC, D/B/A MANORCARE   :
HEALTH SERVICES-YEADON, HCR       :
MANOR CARE, INC., MANORCARE,      :
INC., HCR HEALTHCARE, LLC, HCR II :
HEALTHCARE, LLC, HCR III          :
HEALTHCARE, LLC,                  :
                                  :
                Respondents       :


                                            ORDER



PER CURIAM

       AND NOW, this 17th day of November, 2016, the Petition for Allowance of

Appeal is DENIED.

       Justice Donohue, Justice Wecht and Justice Mundy did not participate in the

consideration or decision of this matter.
